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                     IN THE UNITED STATES DISTRICT COURT FOR                                                   rHEi,5
                                                                                                                   .-olttf-
                             SOUTITERNDISTRICT OE GEORGIA
                                   DT'BLIN DIVISION
                                                                                                                    ?01$Ji,{
                                                                                                                         l6 Pfil:40
U N I T E D S T A T E SOf AMER]CA                                                                                  CLIRfi
                                                                          *         r-D   ?1?-nn?


JONATHAN C.                 GASKINS




                                                                      ORDER


          Defendant has fifed                                    a molion for         reduction            of sentence under
'lB
      U.S.C.          S 3582(c) (2) on the                                    basis       chat    Amendmenl 782 to                           the

United          Stat.es Senrencing                                Guidelines          has revised             the      guidelines

:nnli^:hla             tr.l ,'l-r-,1 t-af                    frr:k'ro         offenseq-           tr'rcn   j-h-rrrnh      A'nandment


?82 became effective                                        on November L,                2014, no defendant                  may be

released            on              the              basis       of     the        retroactive             amendment before

November 1, 20L5.                                    See U.S.S.G. Amend. 7BB.                       Thus. the Court will

undertake a review of cases involving                                                     drug trafficking                 oIfenses

ln due course.                                  If   Defendant 1s entitled                     to a sentence reduction

as    a       result                   of            amendments to              the       United       States          Sentencino

Grri'Jcl inaq.                rhF                C.\'rr:t    wil-l      make       sUch    a     redrrcl    ionr    sr/F
                                                                                                                    Juu     s{ J nv rnr Lnc j+. -

Accordingly/                      Defendant's                    motion        (doc. no.         119) j-s DEI'ERRED.1
                                                                                                  ,r4
          O R D E RE N T E R E Da t A u g u s t a , C e o r g i a ,                        cnis lb ldaV              of January,

2Ar5.



                                                                                    UN]TED ST              S DISTRICT                       DGE



          t                                           is                      to
                 ?he          Clerk                         directed                terminate          the    motion           for
:dmi-i        sj- rrl- i\ra
                       + v v t J v ! t , v I
                                               nrr rn.SeS    .
